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6    Attorneys for Chapter 7 Trustee,
     William A. Leonard, Jr.
7
                                UNITED STATES BANKRUPTCY COURT
8
                                          DISTRICT OF NEVADA
9
     In re                                           )    CASE NO. BK-S-09-32824-RCJ (Lead Case)
10                                                   )
     ASSET RESOLUTION, LLC,                          )    Jointly Administered with Case Nos.:
11                                                   )    BK-S-09-32831-RCJ; BK-S-09-32839-RCJ;
                           Debtor.                   )    BK-S-09-32843-RCJ; BK-S-09-32844-RCJ;
12                                                   )    BK-S-09-32846-RCJ; BK-S-09-32849-RCJ;
                                                     )    BK-S-09-32851-RCJ; BK-S-09-32853-RCJ;
13                                                   )    BK-S-09-32868-RCJ; BK-S-09-32873-RCJ;
                                                     )    BK-S-09-32875-RCJ; BK-S-09-32878-RCJ;
14                                                   )    BK-S-09-32880-RCJ; BK-S-09-32882-RCJ
                                                     )
15                                                   )    Chapter 7
     Affects:                                        )
16        All Debtors                                )
          Asset Resolution, LLC, 09-32824            )    REPLY DECLARATION OF JONATHAN
17        Bundy 2.5 Million SPE, LLC, 09-32831       )    S. DABBIERI IN SUPPORT OF
          Bundy Five Million SPE, LLC, 09-32839      )    OBJECTION TO CLAIMS 13-1 AND 13-2
18                                                   )    OF THE INTERNAL REVENUE
          CFP Anchor B SPE, LLC, 09-32843            )    SERVICE
19        CFP Cornman Toltec SPE, LLC, 09-32844      )
          CFP Gess SPE LLC, 09-32846                 )    Date: February 22, 2021
20        CFP Gramercy SPE, LLC, 09-32849            )    Time: 10:00 a.m.
          Fiesta Stoneridge, LLC, 09-32851           )    Judge: Hon. Robert C. Jones
21                                                   )
          Fox Hills SPE, LLC, 09-32853
                                                     )
22        HFAH Monaco SPE, LLC, 09-32868             )
          Huntsville SPE, LLC, 09-32873              )
23        Lake Helen Partners SPE, LLC, 09-32875     )
          Ocean Atlantic SPE, LLC, 09-32878          )
24        Shamrock SPE, LLC, 09-32880                )
          10-90 SPE, LLC, 09-32882                   )
25                                                   )
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1                I, Jonathan S. Dabbieri, declare:

2         1. I am over the age of majority and competent to testify as to all matters set forth herein, which

3    are true and correct and of my own personal knowledge. If called as a witness I could competently

4    testify as set forth herein.

5    2.          Subsequent to the filing of her declaration in support of the trustee’s objection to the IRS’

6    proof of claim, Ms. Chiang located in the debtor’s records an amended 2008 tax return which had

7    been prepared, prepetition, by Asset Resolution’s accountants. The amended return reflected that no

8    tax was due for 2008, however it is unclear if the amended return was filed with the IRS.

9    3.          After their review (in the non-technical sense) of the 2008 return and based upon it and their
10   review of the debtor’s books and records, the estate’s accountants prepared and filed an amended
11   return. That return is currently being processed by the IRS. A copy of the filed amended return is
12   attached as Exhibit 1.
13               I declare under penalty of perjury under the laws of the United States of America the
14   foregoing is true and correct and of my own personal knowledge. Executed this 16th day of
15   February, 2021 at Marina del Rey, California.
16
                                                               /s/ Jonathan S. Dabbieri
17                                                             Jonathan S. Dabbieri
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                           EXHIBIT “1”
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